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                              No. 23-2823

            IN THE UNITED STATES COURT OF APPEALS
                   FOR THE SEVENTH CIRCUIT

CHARLES VAVRA,
   Plaintiff-Appellant,

v.

HONEYWELL INTERNATIONAL, INC.,
   Defendant-Appellee.

            On Appeal from the United States District Court
                 for the Northern District of Illinois

        BRIEF OF THE EQUAL EMPLOYMENT OPPORTUNITY
         COMMISSION AS AMICUS CURIAE IN SUPPORT OF
                       NEITHER PARTY

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                        STATEMENT OF INTEREST

      Congress charged the Equal Employment Opportunity Commission

(EEOC) with administering and enforcing Title VII of the Civil Rights Act

of 1964, 42 U.S.C. §§ 2000e et seq. At issue in this case is whether

unconscious bias trainings are inherently discriminatory and, if not,

whether an employee must present evidence to demonstrate a reasonable

basis for believing that a particular training was discriminatory based on

its design, its execution, or other circumstances. Because the EEOC has a

substantial interest in employers’ use of anti-discrimination trainings, we

file this brief pursuant to Federal Rule of Appellate Procedure 29(a).

                       STATEMENT OF THE ISSUES

      1. Whether anti-discrimination trainings, such as unconscious bias

trainings, are inherently discriminatory.

      2. Whether a plaintiff must proffer evidence to show, for purposes of

a Title VII retaliation claim, that a reasonable person could believe a

mandatory anti-discrimination training, such as an unconscious bias

training, was discriminatory.
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                        STATEMENT OF THE CASE

      A. Statement of the Facts1

      Plaintiff-Appellant Charles Vavra, who is White, worked in

Defendant-Appellee Honeywell International, Inc.’s Safety and

Productivity Solutions (“SPS”) unit. R.43-1 at 8.2 At the end of Vavra’s

employment, he was a Principal Applications Engineer. Id. at 7.

      On September 24, 2020, a day after a grand jury in Louisville,

Kentucky decided not to indict two police officers who shot and killed a

Black woman named Breonna Taylor, SPS’s President and CEO John

Waldron sent an email to SPS employees with the subject line “Continue to

Fight for Social Justice.” R.43-5 at 2. Waldron discussed the non-indictment

decision in his email, noting in part that:

      [e]ach time these situations occur, they highlight how far we must go
      to create an equal and just society where all people have the same
      opportunities to succeed. Racial bias is real … Each of us has



1 Because this appeal is from a summary-judgment decision, we recount the

record facts in the light most favorable to Vavra, the nonmoving party. See
generally Anderson v. Liberty Lobby, 477 U.S. 242, 255 (1986).
2 Citations take the following form: Appx.___ (District court opinion

included in the Plaintiff-Appellant’s short appendix); Appellant Br.
(Plaintiff-Appellant’s opening brief); R.__ at ___ (District court docket
entries, where the first number refers to the district-court docket entry and
the second number refers to the CM/ECF-assigned page numbers).

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      unconscious bias within us. When these biases compound, they can
      evolve into institutional biases.

Id. at 2-3. He then called for “tangible actions to make a difference” and

noted SPS’s efforts to take such actions. Id. Waldron concluded with “[m]y

hands and heart are open to each of our Black, Hispanic, Asian, and

LGBTQ colleagues. I stand with you.” Id. at 3.

      In November 2020, Honeywell announced an online Unconscious

Bias Awareness Training (“Training”) and required employees to complete

it by the end of February 2021. R.43-1 at 22-28; R.43-6 at 2. The consequence

of non-completion was termination, as it was for other mandatory

Honeywell trainings. R.43-7 at 8, 16-17. An email accompanying a link to

the training explained:

      While it’s human nature to have biases, we must strive to overcome
      them to create an environment that values everyone’s perspectives —
      a workplace based on trust, respect, and open communication. This
      training aims to equip you with the insights and tools needed to help
      spot and challenge the ways biases prevent us from creating an
      inclusive environment. When we work to eliminate our implicit
      biases, we not only treat each other better, but we become a better
      company. Combating unconscious bias allows us to build a culture
      that supports better customer service, stronger business results, and a
      more engaged workforce.

R.43-6 at 2. Vavra did not take—or even open—the Training. R.43-1 at 29-

30.

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      Honeywell sent numerous reminders both before and after the

Training deadline to Vavra and other employees who had not taken it.

R.43-1 at 31-32; R.43-8 at 2-16. In addition, several Honeywell employees

personally reminded Vavra to complete the Training, including Vavra’s

direct manager, Jeffrey Cortez, and Brian Swinkola, Cortez’s manager.

R.43-1 at 10, 49-50; R.43-8 at 17; R.43-9; R.43-10; R.43-11. Cortez understood

Vavra’s objection to the Training to be a concern that Honeywell was

“pushing in political correctness issues.” R.43-4 at 13.

      On March 2, Human Resources Director Katie Decker emailed an

undisclosed list of employees, including Vavra, to encourage them to

complete the Training and to let her know if any issues prevented

completion. R.43-12 at 20. Vavra replied that he was having issues with

completion, and Decker prompted him to explain the issues. Id. at 19.

      Vavra replied with a seven-page email stating his objections to the

Training and to Waldron’s September 24 email, along with his views on

other political and cultural events. Id. at 12-19. He stated, among other

things, that the Training was “ridiculous” and “doesn’t work” and that

Waldron was a “race-baiter” because he was “only concerned with our

BLACK colleagues[’] feelings,” believed the Taylor killing was racially

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motivated, and portrayed White people as the “villains.” Id. He opined that

“so-called ‘systemic racism’ is just another manufactured crisis to keep

people at odds with each other and ‘unconscious bias’ training is the

decades old joke of a solution to a problem that doesn’t even exist to

anywhere near the extent they make it out to.” Id. Vavra also emphasized

that neither “Waldron nor anybody else gets to tell me I have unconscious

bias,” and that Waldron had failed to list his White colleagues as a group

that “his heart goes out to.” Id. He concluded that Honeywell could “do

whatever it is you feel you have to do to deal with my non-compliance”

but that he was “not a sellout” and that he would be awaiting Waldron’s

“apology.” Id. Becker stated she would review his response. Id. at 12. She

testified that she communicated Vavra’s concerns to other individuals

within Human Resources. R.43-7 at 13.

      Cortez explained to Vavra that he did not see anything racist about

the Training and mentioned that it contained an example where an

employee held an unconscious bias against a White man because the

employee assumed that a woman would be more capable of doing a

specific task. R.43-4 at 13-14. Cortez also testified that he took the Training

and considered it to be a “relatively simple” and “innocuous”—a “pretty

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balanced training about unconscious bias.” Id. at 13-14, 31. It was

approximately 20-30 minutes long and contained short videos and quizzes

about various scenarios. Id. at 29-30. Participants were not required to sign

a document stating that they agreed with the contents. Id. at 30.

      Vavra continued to receive automated daily Training reminders.

R.43-1 at 59; R.43-8 at 6-16. On March 19, Vice President of Engineering

Chris Maines met with Vavra to convince him to take the Training and to

remind him that not doing so was insubordination. R.43-1 at 61-64; R.43-13.

      Vavra then found an Implicit Association Test on a Harvard website

and took it multiple times to “entertain myself.” R.43-12 at 10. He received

inconsistent results, confirming his belief that such trainings were

“unreliable” and “incapable of validation.” R.43-12 at 10; R.43-1 at 74.

Vavra testified, however, that he did not know if Honeywell’s Training

would be similar because he never took it and did not know its contents.

R.43-1 at 77-78. Nevertheless, he testified that based on Waldron’s email, he

assumed “it was going to try to make me feel guilty for the color of my

skin, that it was going to make people of color feel like victims for the color

of their skin.” R.43-1 at 78.




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      Maines prompted Vavra via email for his thoughts, and Vavra sent

him a five-page email and forwarded it to Becker. R.43-14; R.43-12 at 6-11.

The email stated, among other things, that Vavra believed the Training was

“developed … in concert with nothing but lies and manipulation by the

media and corrupt public servants” and that he “found John Waldron’s

9/24 [email] incredibly offensive, discriminatory and racist and I don’t

want to be ‘trained’ to be someone like that.” R.43-12 at 6-11. Vavra

concluded: “I referenced John Waldron’s discriminatory remarks in his

9/24 email in my last letter to HR. I am referencing it again today. I don’t

know what would be considered an ‘official’ discrimination claim, but both

should be considered as such. I am still expecting an apology from John

Waldron.” Id. A week later, Vavra emailed Becker with a YouTube video

link, stating that it “very eloquently explains why I have taken such a

strong stance on not taking the unconscious bias training.” R.43-12 at 2-3.

Vavra, however, had still not opened the Training to review its contents.

R.43-1 at 29-30, 77-78.

      Becker, Cortez, and Vavra met just over a week after Vavra’s last

email. R.43-1 at 68-70; R.43-4 at 8-9; R.43-7 at 9. Cortez stated that he

understood how Vavra felt about the Training but emphasized “the bottom

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line” was that Vavra had to take it or be terminated. R.43-1 at 70. Vavra

confirmed that he would not take the Training. Id. at 73. Becker then

terminated Vavra’s employment. Id.

      Vavra filed suit, alleging in relevant part that Honeywell’s decision to

terminate him because he opposed the Training “based on his conclusion that

it was inherently racist” constituted retaliation in violation of the Illinois

Human Rights Act (IHRA) and Title VII. R.10 at 9-10 (emphasis in original).

      B.   District Court’s Decision

      The district court granted summary judgment to Honeywell on

Vavra’s retaliation claims. It first laid out the elements of a Title VII

retaliation claim—“that (1) [plaintiff] engaged in protected activity and (2)

suffered an adverse employment action, and that (3) there is a causal link

between the two”—and noted that the parties disputed only the first and

third elements. Appx. at 14 (quoting Lord v. High Voltage Software, Inc., 839

F.3d 556, 563 (7th Cir. 2016)).

      The court agreed with Honeywell that Vavra’s “refusal to take the

UBA [Unconscious Bias Awareness] Training” was not protected activity.

Id. at 14, 17. It acknowledged that Honeywell conceded that Vavra’s

complaint emails were protected activity but noted that “an employee’s


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complaint about something that is not proscribed by Title VII would not

constitute protected activity for the same reasons” that the refusal to take

the Training did not constitute protected activity. Id. at 14, 17 n.2.

      The court explained that to engage in statutorily protected activity,

Vavra must have “a subjective (sincere, good faith) belief that he opposed

an unlawful practice” and that “belief must also be objectively

reasonable.’” Id. at 15 (quoting Logan v. City of Chi., 4 F.4th 529, 538 (7th Cir.

2021)). It surmised that Vavra likely failed the subjective prong because he

“admits that he had no knowledge of the actual contents of the Training”

and because his “stated objections to the Training seemed to have more to

do with his belief that the Training would be ineffective” and “divisive”

rather than “racist.” Id. at 15-16. But even if he subjectively believed the

training violated Title VII, the court reasoned, “his belief was not

objectively reasonable.” Id. at 16.

      The court recognized that “[t]he objective reasonableness of the

plaintiff’s belief is not assessed by examining whether the employer’s

conduct was persistent or severe enough to be unlawful, but merely

whether it falls into the category of conduct prohibited by the statute.” Id.

at 16 (quoting Logan, 4 F.4th at 538) (cleaned up). But it held that Vavra

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failed to meet this standard—that is, he failed to adduce evidence that “the

Training, or Defendant’s requirement that all U.S. employees take the

Training, was racially discriminatory” and thus failed to identify conduct

that “fall[s] into any category of conduct prohibited by Title VII.” Id. at 17.

The court recounted that the only evidence before it was that the “video

was vetted and approved by [Honeywell’s Diversity, Equity and Inclusion

office] and the Law Department in an attempt to promote an inclusive

environment,” “that all U.S. employees were required to watch it,” and that

Vavra “lacks knowledge of [its] content[s].” Id. at 16.

      Because Honeywell had conceded that Vavra’s emails complaining

about the Training and Waldron’s September 24 email were protected

activity, the court next addressed causation—i.e., whether Vavra was

terminated because he engaged in protected activity (the complaint

emails), rather than for refusing to take the mandatory Training. Id. at 17-

18. The court explained that the only evidence of causation Vavra adduced

was the timing of his termination, which was insufficient standing alone.

Id. at 18-20. It rejected for lack of evidence Vavra’s assertion that

Honeywell departed from established policies with respect to his

termination, and also noted that Vavra had failed to proffer any evidence

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to “permit [the court] to second-guess [Honeywell’s] mandatory training

requirements.” Id. The court thus concluded that Vavra “has not come

forward with sufficient evidence to permit a factfinder to conclude that [he]

would not have been terminated but for his discrimination complaints.” Id.

at 20.

                                   ARGUMENT

         Title VII protects individuals from retaliation for, in relevant part,

opposing any “unlawful employment practice,” 42 U.S.C. § 2000e–3(a),

including those that “discriminate against any individual with respect to

his compensation, terms, conditions, or privileges of employment, because

of such individual’s race,” id. § 2000e–2(a)(1). A retaliation claim brought

under the opposition clause “isn’t doomed simply because the complained-

of conduct was not in fact an unlawful employment practice; rather, the

plaintiff must have a sincere and reasonable belief that he is opposing an

unlawful practice.” Lord, 839 F.3d at 563 (cleaned up). A retaliation claim

fails the objective prong if it “rest[s] on facts that no reasonable person

possibly could have construed as a case of discrimination.” Fine v. Ryan

Int’l Airlines, 305 F.3d 746, 752 (7th Cir. 2002). “The objective

reasonableness of the belief is not assessed by examining whether the


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conduct was … [actually] unlawful, but merely whether it falls into the

category of conduct prohibited by the statute.” Magyar v. Saint Joseph Reg’l

Med. Ctr., 544 F.3d 766, 771 (7th Cir. 2008).

      Vavra argues that in refusing to take the Training, he “was objecting

to the type of activity that, under some circumstances, supports a charge of

racial discrimination, i.e., the [d]iscriminatory preference for any [racial]

group, minority or majority.” Appellant Br. at 33-34 (cleaned up). Pointing to

other cases involving what he describes as “diversity trainings,” he argues

that “the fact that other courts have considered similar claims as racial

discrimination demonstrates that Vavra’s objection to the training was not

‘utterly baseless.’” Id. at 34-35.

      But Vavra has not pointed to anything “similar” about the trainings

in other cases beyond the fact that they all arguably fall under the umbrella

of “diversity trainings.” To the extent Vavra’s argument suggests that his

objection to Honeywell’s Training was reasonable simply because some

courts, considering particular facts regarding other “diversity trainings,”

have ruled for plaintiffs, that theory is wrong.




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      Diversity trainings—the term Vavra uses—can encompass a wide

swath of anti-discrimination trainings.3 Anti-discrimination trainings,

including unconscious bias trainings, are not discriminatory per se.

Contrary to Vavra’s argument, nothing about them inherently involves a

“preference” for any group. Indeed, such trainings can serve as vital

measures to prevent or remediate workplace discrimination. They are

therefore not categorically the “type of activity” that would support a

discrimination claim.

      Because anti-discrimination trainings are not inherently

discriminatory, the belief that such a training constitutes an unlawful

employment practice is objectively reasonable only if the plaintiff provides

evidence to show how the particular training could be discriminatory in

content, application, or context.




3 See Alex Lindsey, et al., The Impact of Method, Motivation, and Empathy on

Diversity Training Effectiveness, J. Bus. Psych. (Nov. 2014) (“Diversity
training can be defined as any program designed to facilitate positive
intergroup interaction, reduce prejudice and discrimination, and generally
teach dissimilar others how to work together effectively.”), available at
https://www.mikkihebl.com/uploads/9/0/2/3/90238177/79.pdf.
Unconscious bias trainings are a type of anti-discrimination training, as
explained infra pp.18-19.

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I.   Anti-discrimination trainings, including unconscious bias trainings,
     are not per se discriminatory and may serve as vital measures to
     prevent or remediate workplace discrimination.

      Vavra alleged that he opposed Honeywell’s Training “based on his

conclusion that it was inherently racist.” Compl., R.10 at 10 (emphasis in

original). But multiple courts have rejected the theory that anti-

discrimination trainings categorically violate Title VII. See, e.g., Norgren v.

Minn. Dep’t of Hum. Servs., No. 22-cv-00489, 2023 WL 35903, at *1, 7 (D.

Minn. Jan. 4, 2023) (holding that plaintiff did not engage in protected

activity by refusing to take a gender identity training based simply on his

assertion that “he views the concept of nonbinary gender to be ‘contrary to

his sincerely held religious belief’” because “being required to attend

across-the-board diversity training is not a discriminatory practice under

Title VII”), appeal docketed, No. 23-1208 (8th Cir. Feb. 3, 2023); De Piero v. Pa.

State Univ. No. 23-cv-2281, 2024 WL 128209, at *8 (E.D. Pa. Jan. 11, 2024)

(noting that discussing and providing trainings on “implicit bias,”

particularly “in the aftermath of very real instances of racialized violence

like the murder of George Floyd does not violate Title VII ….”); Young v.

Colo. Dep’t of Corr., No. 22-cv-00145, 2023 WL 1437894, at *8 (D. Colo. Feb. 1,

2023) (a “general challenge to the contents of” an “Equity, Diversity, and


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Inclusion Training” was insufficient to show a hostile work environment),

appeal docketed, No. 23-1063 (10th Cir. March 7, 2023).

      To the contrary, courts have held that anti-discrimination trainings

can play a key role in preventing discrimination. The Supreme Court has

held that Title VII’s “primary objective was a prophylactic one.” Albemarle

Paper Co. v. Moody, 422 U.S. 405, 417 (1975); see also Faragher v. City of Boca

Raton, 524 U.S. 775, 805–06 (1998) (holding that Title VII’s primary goal “is

not to provide redress but to avoid harm”); Erickson v. Wisc. Dep’t. of Corrs.,

469 F.3d 600, 605 (7th Cir. 2006) (same). Trainings, courts recognize, further

Title VII’s primary goal. See, e.g., Erickson, 469 F.3d at 605–06 (noting that

employers should prevent harassment with “proactive steps such as …

training employees”); Hunt v. Wal-Mart Stores, Inc., 931 F.3d 624, 629 (7th

Cir. 2019) (same); see also Chai R. Feldblum & Victoria A. Lipnic,

EEOC, Select Task Force on the Study of Harassment in the Workplace, at 44-54

(June 2016) (finding that regular trainings have proven effective in

preventing and addressing harassment). 4 Indeed, in line with Title VII’s




4 Available at

https://www.eeoc.gov/sites/default/files/migrated files/eeoc/task forc
e/harassment/report.pdf.

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“basic policies of encouraging forethought by employers,” the Supreme

Court crafted the Faragher-Ellerth affirmative defense to certain supervisory

harassment,5 encouraging employers to take a proactive approach to

preventing harassment, including by implementing training. Faragher, 524

U.S. at 807; Ellerth, 524 U.S. at 764–65; EEOC v. Mgmt. Hosp. of Racine, Inc.,

666 F.3d 422, 435–36 (7th Cir. 2012) (affirming jury’s rejection of Faragher-

Ellerth defense where “evidence at trial suggested that the [anti-

harassment] training was inadequate”).

      In addition to serving as a method to prevent discrimination,

mandatory trainings can help ensure Title VII compliance where litigation

has highlighted a particular form of workplace discrimination. Courts have

approved trainings as remedial injunctive measures to address a wide

range of discriminatory practices, policies, and behaviors. See, e.g., EEOC v.

Boh Bros. Constr. Co., 731 F.3d 444, 470 (5th Cir. 2013) (en banc) (affirming



5 “The [Faragher-Ellerth] defense comprises two necessary elements: (a) that

the employer exercised reasonable care to prevent and correct promptly
any sexually harassing behavior, and (b) that the plaintiff employee
unreasonably failed to take advantage of any preventive or corrective
opportunities provided by the employer or to avoid harm otherwise.”
Faragher, 524 U.S. at 807; Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 765
(1998).


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injunction, finding such measures to be “reasonably tailored to address

deficiencies in [employer’s] sexual harassment policies, inform and train

employees regarding the relevant law, and prevent similar conduct from

recurring”); EEOC v. N. Star Hosp., No. 12-cv-214, 2014 WL 282026, at *4, 6

(W.D. Wis. Jan. 27, 2014) (granting injunctive relief requiring training of

company managers and holding that training was “tailored to the

deficiencies identified in defendants’ operations”), aff’d on other grounds,

777 F.3d 898 (7th Cir. 2015); EEOC v. Wal-Mart Stores, Inc., 11 F. Supp. 2d

1313, 1331 (D.N.M. 1998) (requiring Walmart to conduct ADA compliance

training and post notice to employees), aff’d, 202 F.3d 281 (10th Cir. 1999);

EEOC v. Gurnee Inn Corp., No. 87 C 0888, 1988 WL 129329, at *1–2 (N.D. Ill.

Nov. 28, 1988), aff’d, 914 F.2d 815 (7th Cir. 1990) (entering injunction

ordering employer to, among other measures, adopt anti-harassment

training program for supervisors).

      In addition, in EEOC cases, courts regularly approve proposed

consent decrees requiring anti-discrimination training, sometimes

including implicit bias training. See, e.g., Consent Decree at 6-7, EEOC v.

Trinity Health-Michigan, d/b/a Mercy Health St. Mary’s, No. 1:23-cv-00435

(W.D. Mich. Jan. 17, 2024), ECF No. 18 (requiring employer to train human

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resources and senior leadership team members annually on Title VII’s

religious protections for applicants and employees); Consent Decree at 5-7,

EEOC v. Whiting-Turner Contracting Co., No. 3:21-cv-00753 (M.D. Tenn. May

3, 2023), ECF No. 323 (requiring annual training on discrimination,

harassment, and retaliation under Title VII); Consent Decree at 40, EEOC v.

Activision Blizzard, Inc., No. 2:21-cv-07682 (C.D. Cal. Mar. 29, 2022), ECF No.

82 (“Defendants represent that they have created and enhanced an array of

training programs regarding non-discrimination, anti-harassment,

antiretaliation and related subjects including implicit bias, bystander

intervention, equity and diversity, and inclusive leadership training.”).

      The fact that anti-discrimination trainings may focus on identifying

unconscious bias does not change the calculus; such trainings, like other

anti-discrimination trainings, are not inherently problematic. As the

EEOC’s guidance on “Race and Color Discrimination” explains, “[r]acially

biased decisionmaking and treatment … are not always conscious. [Title

VII] thus covers not only decisions driven by racial animosity, but also

decisions infected by stereotyped thinking or other forms of less conscious

bias.” EEOC Compl. Man., Race and Color Discrimination § 15-V.A.1 &




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n.37 (April 19, 2006)6 (citing Thomas v. Eastman Kodak Co., 183 F.3d 38, 42,

59–61 (1st Cir. 1999) (holding layoff could be found unlawful where

performance evaluations on which layoffs were based were racially biased,

and discussing the longstanding recognition that unlawful discrimination

can stem from stereotyping and cognitive bias, as well as from conscious

animus), and Charles R. Lawrence III, The Id, the Ego, and Equal Protection:

Reckoning with Unconscious Racism, 39 Stan. L. Rev. 317 (1987)). The

Compliance Manual elaborates:

      It is an axiom of human nature that people often like to associate with
      other people who are like themselves. This enhances a comfort level
      in working relationships. Such ‘like me’ bias may be conscious or
      unconscious. Nevertheless, the ‘like me’ syndrome can lead to a
      tendency to employ and work with people like oneself ….

Id. at § 15-IX n.161 (quoting EEOC Task Force Report, Best Practices of

Private Sector Employers (1998), https://www.eeoc.gov/best-practices-

private-sector-employers); see also De Piero, 2024 WL 128209, at *8

(recognizing importance of concepts like implicit bias in workplace anti-

discrimination trainings).




6 Available at https://www.eeoc.gov/laws/guidance/section-15-race-and-

color-discrimination.

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      In sum, to the extent Vavra suggests that it is reasonable to believe

that anti-discrimination trainings in general (or unconscious bias trainings

specifically) are inherently discriminatory, he misses the mark.

II. Opposition to an anti-discrimination training, such as an
    unconscious bias training, may constitute protected activity where
    the plaintiff provides a fact-specific basis for his belief that the
    training violated Title VII.

      Courts have held that where the complained-of conduct is not

inherently discriminatory, a plaintiff must provide a fact-specific basis for

his belief that the conduct violated Title VII in order to show that his belief

is objectively reasonable. See Byers v. Dall. Morning News, 209 F.3d 419, 428-

29 (5th Cir. 2000) (ruling that employee’s belief that performance

evaluation was discriminatory was objectively unreasonable absent any

supporting evidence); Isbell v. Baxter Healthcare, Corp., 273 F. Supp. 3d 965,

980 (N.D. Ill. 2017) (concluding that it was not objectively reasonable to

construe complained-of materials and comments as harassment where they

were “not inherently sexual harassment” and where plaintiff had failed to

provide evidence of how they were, for instance, “demeaning toward

women”); see also Taylor v. Exxon Mobil Corp., No. 1:07-cv-03172, 2009 WL

458610, at *10 (N.D. Ill. Feb. 24, 2009) (concluding that simply labeling



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comments as “racist” was insufficient at summary judgment for hostile-

work-environment claim where comments themselves were “not

inherently racist”).

      The same rule applies when an employee complains that an anti-

discrimination training is discriminatory: a plaintiff would need to show

how the training could be discriminatory—for example, in design or

execution. In discrimination cases involving anti-discrimination trainings,

courts have ruled in favor of plaintiffs who present this type of evidence or,

at the motion-to-dismiss stage, who make plausible allegations that explain

how the training was discriminatory. For instance, in Hartman v. Pena, 914

F. Supp. 225 (N.D. Ill. 1995) (cited in Appellant Br. 34), the employer

required its employees to complete a cultural diversity workshop that

involved a “‘role-reversal’ exercise.” Id. at 227. Plaintiff participated after

“[o]thers voiced their disdain” for his initial reluctance. Id. As part of the

exercise, he walked between two rows of women who “touched his

genitalia and other parts of his body, while the preceding male participants

laughed and derided him.” Id. Then the “men were numerically rated with

their names on a chart … illustrat[ing] human penises in various states of

arousal. The participants rated [plaintiff] the lowest.” Id. The court held

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that “a reasonable person might find such an environment hostile … where

one is ridiculed for being unwilling to participate in an exercise of walking

between rows of co-employees, then groped in a sexual manner by the co-

employees forming the lines, and later humiliated by subscribing one’s

name to a graphic of a small, flaccid human penis.” Id. at 229.

      Similarly, in De Piero, 2024 WL 128209, at *7, the court held that a

writing professor had plausibly alleged a hostile-work-environment claim,

emphasizing that his allegations were “specific.” The professor had

identified, among other things, the specific content of and statements made

during recurring trainings addressing racial issues, which consistently and

categorically disparaged White people. Id. at *1–2, 7. The court concluded

that although discussions about race are permitted under Title VII—and

indeed, could “contribute positively to nuanced, important conversations

about how to form a healthy and inclusive working environment … the

way these conversations are carried out in the workplace matters: When

employers talk about race—any race—with a constant drumbeat of

essentialist, deterministic, and negative language, they risk liability under

federal law.” Id. at *8 (citation omitted).




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      But where a plaintiff fails to make plausible allegations (at the

motion-to-dismiss stage) or provide evidence that a particular training

could be discriminatory—for instance, in content or implementation—

courts have rejected their claims. See Norgren, 2023 WL 35903, at *1, 7

(rejecting plaintiff’s retaliation claim where failed to allege facts showing

that the diversity training he experienced could constitute an unlawful

employment practice); cf. Young, 2023 WL 1437894, at *7 (holding that

allegations that diversity trainings “created a racially hostile environment”

could not survive a motion to dismiss because they were “conclusory” and

“unaccompanied by sufficient supporting factual allegations”—“[plaintiff]

does not actually allege any specific facts describing the nature, contents, or

frequency of the mandatory training”); Shannon v. Cherry Creek Sch. Dist.,

No. 20-cv-3469, 2022 WL 4364151, at *3, 7 (D. Colo. Sept. 21, 2022) (rejecting

plaintiff’s claim that equity trainings subjected her to a racially hostile work

environment where, according to the magistrate judge, she proffered no

competent evidence regarding the content of the training or discussion

surrounding the training and where, instead, “the undisputed evidence

demonstrates that the equity trainings adhere to the policy designed to

promote workplace equity and nondiscrimination”).

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      In sum, in the absence of such additional evidence, the mere fact that

an employer requires employees to participate in an anti-discrimination

training is not enough to show that the training falls into a category of

conduct prohibited by Title VII.

                              CONCLUSION

      For the foregoing reasons, the Court should analyze Vavra’s appeal

using the standards set forth above.

                                     Respectfully submitted,

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February 6, 2024


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      This brief complies with the type-volume limitation of Circuit Rule 29

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      I certify that on February 6, 2024, I electronically filed the foregoing

brief in PDF format with the Clerk of Court via the appellate CM/ECF

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